          Case 3:17-cv-03615-VC Document 137 Filed 02/14/18 Page 1 of 1




                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


 ILSA SARAVIA, et al.,                              Case No. 17-cv-03615-VC
                Petitioners/Plaintiffs,
                                                    ORDER STAYING CASE AND
         v.                                         DENYING PENDING MOTIONS
                                                    WITHOUT PREJUDICE
 JEFFERSON B. SESSIONS, et al.,
                Respondents/Defendants.



       For the reasons discussed at the February 8, 2018 status conference, the case is stayed

pending appeal. All pending motions are denied without prejudice to renewing them, if

necessary, after the appeal is resolved. The parties are not precluded, during the stay, from filing

motions relating to implementation of the preliminary injunction ruling.



       IT IS SO ORDERED.
Dated: February 14, 2018
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
